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ISH.=`J! 3342 WSB.-‘-‘i==` 340{]?

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Fa~;ll[lE}BSU-EDQ'J

_-'Lnumcj~' for Plaintifi_

ll'€ THF. UN]TE.D STATE.S DISTRICT CU[.`!RT

F'U'R THE DISTRICT (JF IIJAHG

“`.-!L‘r'!`i£ T.-'i't"[.UR., an ldaho indi\'idual.
Plaintin'i

\`5.
CULLECTIUN Bli`R]:iAl.-`, IN(.`., an ldaho
Corpnration, il}AllU' .-\RTHR[TIS &
{}STEUPURGS[S, F.(.`.. an Idahn
Prufrssianal Cdrparatinn. ST. LL`KF‘S
HE.-*LLTH SER\"ICES, LTI}., an ldaho
.\`unpral'll Cnrporation. M.~‘\LRK L. {.`I.ARK,.
Pl.[.{`.. an lda]:m meesaiooal Limiti:d
Liabilit_\' Cumpan_\'. G. CUNI\E]E Rliil'*i.-i,
an lnd‘n'idual and Atmrne}' for Mark l,.
Clarl-L, PLL[_,`., KI:`.RHY MI(TH,»\ELSD.'*¢' an
lodividual and itttomcy for Mark L. Clark,
PI_.L{.`, and [.'IDF.S 1-5 To Be Determ`med.

[llel'eudaut.

C`U?vll§§ `='\.`U"l.'»-" me PlainlilT, "F'~"A‘r"_l*§l:_ T_J'~i'i"l_URi by and through his anarne].' of

fast _"*lo:

‘lr"ERIFIF.D C{]MFLAENT

rccnrd, R}'an T. F.arl. nflhe law firm Earl ¢§: Ear|. PLLC. and hereby brings this L`nmp]aint

seeking damages hj,' lhr: Di:t`cndama jointly and severally far violations of Federa| [.au.' including

thi=.l Fair ]'}ebl {Toilecliun ]:'raclicea .»’Lcl. L`onapiracj.'. and Ras:kctecring inilu€nce and Criminal

Grganizalinna Acl and alleges Lhe fiallnv.ing:

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BACKGRUUN[]

Today our lives are based around our credit score for so many necessities of modern life,
beyond simply credit or the costs of borrowing money. t]ur credit scores affect automobile
insurance telecommunication and many other areas of our daily lives_ eyen including today`s
health care. "w"e can couple a credit score with a person`s reputation or standing within any
community and find the two are extremely closely linked to each other.

Tal»;er for instance. Plaintifl`. Wayne l`aylor. a man who pays his bills. and whose
reputation is crucial to his carecr. Mr. 'l`aylor, at the time of the lawsuit in ldaho Court. was the
department head of the Legal program at a local college located in Eoise, and relied upon his
reputation to represent his school program and students in the community throughout the Eoise
area. The f}et`endants in this case did willfully and maliciously cause injury to Mr. Tay'lor and
his credit standing and reputation through no fault of his own

Starting in F'tugust ofEt]'tl'iL Mr. Taylor began experiencing severe pain in his legs making
standing while teaching nearly impossible Mr. Tay]or sought the help of Dr_ White. who
thought the problem was arthritis and referred Mr. Taylor to a specialist. Mr. `fay'lor also sought
treatment from Dr. Daryl Macl`arty. of ldaho Arthritis and Usteoporosis. P.C`-, located in St.
Lul;e`s. hieridian. ldaho. rafter many tests. including an ultra-sound that was supposed to be a
temporal scan hut was performed on Mr_ Tay|or's wrists - which was questioned thoroughly by
Mr_ Taylor - the medical professionals were unable to determine the cause_

With no clear answer, but mounting medical bills, Mr. 'l`aylor began making monthly
payments to St- Luke`s Medical Centcr. `lhe amount due to ldaho iarthritis & 'Usteoporosis,
F*.L`.. was included on the St. Lulte`s Medicat Center billing. Mr. Taylor made monthly
payments to St. Luke`s Medical Center to pay his bi]l. l'vl_r. `l`aylor assumed that since St. Luke`s
included lite ldaho Art_l'tritis & flsteopnrnsis's balances in their billing statement that St_ l.tllte'$

was collecting for and remitting payment to idaho Arthritis de Osteoporosis; however._, St. Lulte's

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apparently paid their entire bill first. and then remitted thc remaining payments to ldaho r'trthritis
3:. Usteoporosis. idaho Arthritis 35 Usteoporosis. having received no payments from hir. `l`aylor.
eventually sent lvlr. Taylor`s bill to Collection fluream [nc. for collection on the alleged amount
due. lvtr_ Taylor continued to make his monthly payment to St- l.uke`s Medical Center. lvlr.
`l`ay'lor continued to believe St. Lukes was appt.trtioning his payments between Et. Lukes and
ldaho arthritis dc Usteoporosis. The balance due to ldaho arthritis tit Usteoporosis was still
being included on his St. l.ulte's billing statement. blow1 on top of being in pain nearly every
day. l'vlr. Taylor had the added stress ofa collection agency hounding h_im for a payment he was
already making to the original creditor. Mr. Taylor 1was placed in position of extreme frustration
by St. Luke`s. ldaho Artht‘itis d: t}steoporosis. and Collection Burcau. lnc.

additionally. Mr. Taylor. upon being threatened with litigation. contacted St. Luke`s
billing department and asked for a complete accounting to determine1 if possible, what the billing
was and why he was being threatened lit. Luke`s sent by L|S Mail. a one page document which
showed a total bill of 5953.0|]. (a true and correct copy is attached hereto and incorporated
herein as FL.-HLIN`I`IFF`S EXHIBI`I` l] `l`be amount in Exhibit l is. coincidently. the total Mr.
Taylor owed to Dcfcndants St. Lukc`s and ldaho .-‘trthritis tit Osteoporosis.

lvlr_ Taylor was stressed over his hea|tb. but he was worried his good name was being
tarnishcd: while he was doing what he thought was proper. paying his bil|s. To make matters
worse. ['oltection Bureau. lnc. filed a lawsuit against blr. Taylor. for the medical bill he was
currently paying to St_ l.uke`s on Decembcr El. EUttl. "'A"bcn Collection Bureau. [nc_ first
contacted hir. `faytor. he explained to them that he was making his payments to St. Luke’s. who
he thought was dividing the payments and allocating aceordingly. lvtr. Taylor was extremely
upset; he was worried about how this would affect his position at the schoot_ his good name_ his
credit rating. and his standing in the community. htr. `l aylor was anxious. suffered ti‘om anxiety

causing him slecp]ess rtights and he became irritable and short tempered with those around him.

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htr. `l"ayior wondered how he could be sued for a bi|l. while he was still making a monthly
payment on the bill to the original creditor. St. |_,uke's lvlcdieal tl`enter. and in fact was paid in
full at the time of the trial.

.»'tt a settlement conference, lv‘lr. Taylor met with G. Connie Runia. attorney of record for
{`o|lection Bureau. tnc.. where Ms. Runia stated to Mr. `l`aylor that he “shoutd pay his bills"`. lvtr.
Taylor responded '*l pay my bills every month to St. l_uke`s." lvls, Runia ignored Plaintitt`s
response and trial was ser for luty 21 201 l. Trial was held on the underlying alleged debt on
lu|y 21 201 t and a judgment was rendered against Mr. `t`aylor. Dtuing the trial. Mr. Taylor
motioned to have his canceled checks for the payments he had been making to St_ Lukc`s
Medical Center. hut L`Bl`s attorney Keny' lylichae]son objected because the copy ofhis final
payment did not have the reverse side of the choek. l'vlr. Taylor now has copies ofhis checks.
nrade payable to lit. Luke`s and ldaho r-‘trthritis & t)steoporosis. and ironically. deposited by
Co|lection Elureau. lnc. art the time of the trial. t.Tollection Etureau. lnc. knew Mr. Taylor's debt
was paid in fu|l. but chose to proceed with seeking ajudgment on lvlr. `[`ay]or`s paid debt;
apparently only to collect on attorney`s fees and costs. Interestingly. had Collection BurearL lnc.
taken the time to properly investigatc. as required by the Fajr Debt Col|eetion Practices act. they
would have found that St. Lukc`s was already collecting and receiving payments for the alleged
idaho At'thritis & Usteoporosis debt. tl'tus preventing this matter cntirely'.

Since this trial. Mr_ Taylor has sutTered severe stress and felt ‘“cxtrcmely distraught“ over
the miscarriage ofjustice during trial. lvtr. Taylor is enraged at the damage to his character
caused by this suit. Again. the result for lvlr. Taylor was more sleepless nightst stresst and
aggravatiou. compounding upon stress and aggravation already in place. `ll'tis matter has
consumed Mr. Taylor for over a year: first trying to defend his good name. then trying to come to

terms with the miscaniage of justice in the ldaho State f.`oun_

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l. "v'enue in the Llnited States flisu'ict C` ourt for the f)istrict of ldaho is pmper and

the Court has lurisdiction over the parties.

l This present action arises out of medical services provided in the State of ldaho.

3. Parties all reside within the litate of ldaho.

4_ P]aintiff. Wayste Taylor is a person and resident of the State of ldaho._ residing in
Kuna. ldaho.
5. Dcfcndant Colleetion Bureau` lnc.. hereinafter £`H]. is an ldaho corporation doing

business in the state of ldaho.

ti. t}efendant ldaho r’trthritis & Usteoporosis Center. F.(`.. hereinafter ldaho
Arthritis. is an ldaho professional corporation doing business in the state of ldaho.

'r". Det`cndant SL l.uke"s l-lea]lh Sy'stems Ltd.. hereinafter St_ l.ukes, is an ldaho non-
profit corporation

S. Defendant Mark l.. (.`lark. Pl_l.C. hereinaticr Clarlc is an ldaho limited liability
professional companyr

il l_)cfcndant G. Connie Ruina. [SB No. 3655. hereinafter Ruina. is an individual
and an attomcy tior Deti:ndant law finn Mark L. Clark. PLLC.

1tl. Dcfcndant lierry l'vtichaclson. 1513 blo. 'lir"l'i. hereinafter Michaelson is an
attorney for Defendant law finn. black L. C|arkt Pl.t.f.`.

l 1_ Plaintiff, Wayrrc Tay-'lor. brings this action under l"edcral law for violations of
said law-'ts] as outlined below_

ll Rooker-Fel'n'man doctrine does not apply to this present action due to Plaintiff

Taylor not seeking this Court to overturn a state court ruling. but for violations of Fedcral

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St,arutes including the Fair Debt L`olleetion Practices rtct. 15 LT.S.C_ 1692 er seq.. conspiracy

13 l_l_S_C. 3'1'] . and the Racketeer influence and L`orrupt Urganiyations net 13 U.S.C. l%l et

rea

ST_ LLlKE`S HEAI.`[`H SYSTEM§`{i.l:iill.l 1ti"ll;`tl_.~'t.Tl't':ll*~l (ll` `l`HE Ft`-‘th DEHT
CULLECTIUN FRACT]L`ES ACT

ll. Pialntifl` `l'aylor re-pleads all previously well pled allegations as if rewritten in
their entirety herein.

l-t. St_ Lukes provided medical services to P|ainriffTay']or and billed Plaintiff for
those services.

15. ldaho Artl'tritis provided medical services to Plaintiff`l`aylor and is not a afliliated
with St. Lukes except for leasing office space from them. and apparently allowing St. Lukes to
bill for thcm.

lo_ St. Lukes billed Flaintiff Taylor for the services rendered by idaho Arthritis, a
separate and distinct entity from any St. Luke's llea|th Services. Ltd.`s business cntities.

11 Bccause St. Lukes billed F’iaintiff Taylor for services front a third party. St. Lukes
became a debt collector. as defined by 15 U.S-C. ld*lla.

|S. St. l-ukes is an unlicensed debt collector as required by ldaho Code § 26-2223.

|9. `lhe Ff`.t{.`l’.a requires debt collectors to provide Notice; St. Lukes on all
communications to Plaintiff Taylort failed to provide atty such notice thereby violating 15
U.S.C_ lb'JEe_

flll. l"urther. St_ l.ultes billing and accepting ofPlaintiff`fay'lor`s payments on behalf
of ldaho Ptrthriris confused the issues of the debt. the debt`s pmper owrrer. and St. Luke`s role

in this marrer_ thus becoming a eo'conspirator_

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CUNSPERJ'LCY
ll. f’laintiti` `l`ay-'lor re~pleads all previously well pled allegations as if rewritten in
their entirety herein.
22. Dcfendants each severally and collectively engaged in a civil conspiracy to

harass intimidate1 and impinge hlr. Taylor`s reputation by seeking ajudgment for a debt that
was paid in ful|. essentially collecting on an unlawful debt. asdetined by 13 Ll.S.C_ _l'fl etser;r.

23. [}efendants Cl:tl. (`lark. lvlichaelson. and Ruina were unjustly enriched by the
judgment in the ldaho C` ourt as a direct result of this conspiracy.

24. Det`cndants t:`fll. f.`lari-t. htichaclson. and Ruina violated the Fajr ilcbt Collection
P'ractices rtct. 15 LT.S.C_ 1692 et seq_ and involved the other Defendants in the conspiracy by
misrepresenting the amount owed. the status of the debt. collection ot`an unlawful debt and
becoming a second active debt collector. because flefendant St. Lukes was still actively
engaged as a debt collector.

25. thfendants perpetrated a fraud upon the C ourt by failing to disclose they knew
Mr. Taylor was making payments on this account through the first collection agency, St.
Lukes. was paid in full and that St. Lukes held the valid. legal or apparent assignment of this
debt.

Eti. at the time of the trial. l`-'lajntifl`Taylor had canceled checks from his bank. made
payable to St. Lukes. transferred to idaho r\nhritis. and eventually deposited by Dcfcndant
CH!_ a professional collection organization who kncw. or should have known that St_ l_ukes
was acting as a collection agency. collecting on this alleged debL and therefore. held all rights

of assignment

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21 Dcfendant St. l.ukes. by failing to forward P|airrtiff Tay'lor*s proportioned
payments to ldaho Anhritis. committed a fraud against lvlr_ Taylor by continuing to accept
payments not apportioning correctlyr and failing to advise Flaintiff Taylor how his payments
were being applied to the outstanding balances at both St_ Lukes and ldaho tarthritis.

23- f)efendant ldaho Ar'tlruitr`s committed a fraud against P|aintiff Taylor by knowing
St. Lukes was collecting on their outstanding balance and allowing CB[ to collect this debt.

29, lltefendant idaho Arthriris directly conspired with f}efendants C 131. Clark.
Michaclson. and Ruina to continue this fraudulent collection proceeding

3{1. Defendants all colluded with each other to collect on this paid in full debt.
apparently to rtrn up attomcy's fees for the prosecution of their state court action.

3 l. Dcfendants` conspiracy resulted in direct economic damages to Plaintifl` Taylor.
as well as causing Plaintiff Taylor severe emotional distress including difficulty in relating to

othersr loss ofhappiness. loss of concentration and mental anguish. embarrassment.

hurniliation. loss of credit rating, and other damages to be determined at trial.

y'tUL.aTlf}l\-IS OF THE lillth DEBT CGLLEC`I`IUN FRACT[CES ACT
Ct`.tl.l.Ef_"fll’~l(_i r*d~l aMUUl'~l`f bl(}`f FER_M|TTE[J BY LAW
52. Plaintiff`faylor rc-pleads all previously-' well pled allegations as if rewritten in
their entirety herein
33. tito lune 23. 2{1l1.P1aintit1`Taylor mai led. by ll.li. Fostal first class mai|. with
correct addresses postage. and account numbers on check number 522 for $ltltl: however.

check 522 was misplaced. destroyed- or deliberately withheld by one of the Defendants-

FLFL|N`I`EFF`S EXHlB[`f 2.

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34. Defendants t_`BL lv‘[ichaclson. and (i. L"onnic Ruina violated the Fair Collection
Practices rict 15 ll.S.C. 1602011 by proceeding with the lawsuit in ldaho L`ourt after Plaintiffv
hir. Taylor. had made his final payment to ldaho .~"rrthritis & f}steoporosis. P.L`. on luly 15,
2011for 5228.-1'§|: receiving a paid in full receipt on receipt number 1501 'fE received by initials
lvll.H. See PLAlN`f[FF`S F.XH]Bl`l` 3 attached hereto.

35. I}cfcndants CB[. Michaelson. and Ruina pnrceeded with the state lawsuit. fin luly
2'1'. 201 1 obtained ajudgment in the amount of 52.?02.33. which included Defendant`s costs
and attomey`s fees. even though the debt had been paid in full twelve [1211 days earlier
pursuant to receipt from [)efendant ldaho r*trthritis. tSee Flar`ntiff`s ls`xhibit lt

36. 1tlti'hile preparing for the state trial. Plaintiff Tay'lor, tbund one tl _`l check was not
cashed_ check 522: Plaintiff Taylor then went to Defendant ldaho Arthritis on luly 26, 201 1 to
pay the “lost" check number 522. but L]cfcndant ldaho arthritis refused pay-ment at that time
stating the matter was proceeding to a 'hearing tomorrow."

li'. r*tt the time of the trial. on luly 23. 201 l1 the ntaxirnum debt would have been
3100.00 due to Dcfendant`s negligence or deceit: however. at trial. P|alntiff. hir. Taylor.
produced a copy of the missing checks which was mailed on lune 23. 201 l with pmper address
and correct postage. but Defendants C|ark. .'tiichaelson and Ruina convinced the state district
courtjudge to disallow this check as evidence because Flaintifl` Taylor only had a copy of the
ti‘ont ofthe check along with a copy of the envelope the check was mailed in.

_iE. Flaintiff Taylor asked for a continuance to go to his bank to attempt to retrieve the
reverse side of the check to prove payment. Defcndants L'larlt. llrlichaelson1 and liuina objected
and received the judgrnent; this after the ludge granted a thirty 130l minute recess to allow

l]efendant t_`lark. lvtichaelson, and Ruina time to contact their client. ldaho Arthritis.

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30. The 1 udge in the ldaho f` ourt case i`ound that Flaintit'l"laylor owed 5?9.33. plus
attorney`s t`ees of $2.000.00 and 31 13.00 in costs based on misrepresented facts presented by

Del`endants idaho .-"tt'thritis, C`El. and L`lark, Michaelson. and Rttin,a_

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l lARAS-SMEN`I`

40. Plaintifl` Taylor rc-pleads all previously we|1 pled allegations as ii`iiilly rewritten
herein.

41. Defendants utilized abusive and harassing techniques in collection of` this paid
debt violating the FDCFA 15 li.S.C. 1602 er sent by knowingly proceeding with a lawsuit
against Plaintil`i`l'aylor on a debt that was paid in hill.

41 Del`endants` actions were intended to harass hurni|iate. embarrass. loss ot`

happiness- and to defraud Plaintifi Taylor oi`an additional $2.?90.33 for a debt that was paid in

t`ull prior to the uial_

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C(}l.l.ECT]UN {_ll" lLLl;`Ci.-”t[. UF.HT .>'tl\='l) BARRATRY

43. Plaintifl` Taylor revpleads all previously well pled allegations as if Fully rewritten
herein

44. l_}ei`endants idaho Arthritis. CBL Claiic lyiichaelson. and Ruina all conspired to
conduct a larseiess. vexatious. harassing lawsuit on an alleged deht; specifically so Dci`cndants
Clarlt. Michaelson, and Ruina could collat on attorney`s t`ees. ldaho Code § lS-1001.

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45. Plaintil:l` Taylor re-pleads all previously well pled allegations as if fully rewritten
herein.

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46. Defendants. collectively and severally. perpetrated a fraud. as defined by ldaho
{.`ude § 10-?003{101 and 13 U.S.C. 42 § 1001.

4”.-'. [`Jefendants had been duly compensated for the services previously billed prior to
the state action on luly 23. 2011: how'even Dct`cndaan proceeded with a fraudulent.
barrattious. and vexatious lawsuit for the sole purpose of collecting attomey fees from Plaintjfl`
Taylor.

40. Defendants. by misstating the facts_ negligence. or fraud sought to collect on a
debt: a debt which had previously been paid in t`ull. a clear violation of the FD'CPA.

'-li}. Det`cndants ldaho Artl'tritis. Cfll. and C`larlt. hfichaelson and Ruina knew or
should have known that Def`cndant St_ l.ultes was the otiginal assignee of this debt. and was
actively collecting on this debt. as evidenced by P|ainti fl` Taylot` s cashed checks

50. [)efendants ldaho arthritis L`BI. and Elarlt. hlichaelson and Ruina with scienter
sought to collect on this paid debL

5 |. [Jefendants ldaho .arthritis_ L`B[. and t'.`,`larl»;, Miehaelson and Ruina allowed the
ldaho Court to justifiably rely on their fraudulent statements ot' fact to render a verdict in that

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CUUN`l` 'v'll.
[NTENT[UNAI_ ll'-ll“'Llf_"l`lUl‘-" []'F F.MGTIUNAL D[STRESS

32_ P|aintifl' Taylor rc-ple.ads all previously well pled allegations as if fully rewiitten

herciri.

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.3. l')efendants by their actions intentionally and with malice. inflicted severe

emotional distress upon Plaintiff Taylor by prosecuting the vexatious barrat_tious. and

fraudulent lawsuit causing P|aintifl` Taylor to have sleepless nights. ansiety. apprehension. fear,

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embarrassment. frustration. anger and other emotional problems as a result of this unlawful
collection of this paid debt-

54. Defendants C`[ll. Clarl»t. hiichae|son. and Ruina intentionally caused Plaintiff
Taylor further emotional distress by seeking wage garnishments fi'ont Plaintifl`Taylor's
employer causing Plaintifl` Taylor further embarrassmenL humiliation. ansiety. indignationt
shocltt irritabiliry. conflict with co-woriters, and irreparable damage to Plaintiff` Taylor’s
reputation .

55. As a direct result of the emotional distress caused by Defendants, collectively and
severally. Flaintifl`Taylor was removed from his position as [}epanrnenl Head and teacher
from Brow'n b-facl;ie College-floise. thereby causing Plaintifl` Taylor to lose all sources of
earned income_

("UUNT "v'[ll
VIULATIUNS UF MCKE`[EERING lNFLLlEl'v‘-[`E AND L`{)RRL}PT URGANIZATIUNS
a_cr

liti. Plaintitl"l`aylor re-pleads all previously well pled allegations as if fully rewritten
herein

51 liefendants_ ldaho Arthtitis. [`Bl. and Clat'l.'.. by their aetietrta have violated the
Racketeeting lnfluenee and f_`orrupt Urganizations .~'ttct ill LT.S.C. 1902 cr scr,t.

53. [)eli:t'ldattts ldaho .f-"l.rlhl'ilis. [.`l:l\l. and marie collected nn a fraudulent, paid debt by
collecting and seekingjudgnent on this alleged debt. Dclendants conspired to violate multiple
laws ofthe linited States_ as defined by 15 LT.S.(_`. 1692 erseq.. 10 LJ,S.C. 321 er seq._. and lli

li_S_C_ 411 el _t'et,t_

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50. [}efendants lenew' or should have known this debt was paid in ftlll due to payments
being made through original debt collector St. Lukes and being transferred to Det`endant ldaho
Arthtitis and ultimately Dcfendants Cfll. f_`lark. hlichaelson. and Ruina.

60. Deticndants have demonstrated a pattern of racketeering by committing
conspiracy. fraud. intentional infliction of emotional distress_ harassment. and violating Federal
and ldaho State Laws.

61. Detendants ldaho Anl'nitis. L`B|. and f.`lark. hfichaelson and Ruina`s conduct
violated 13 l_l.S.fi`. l‘ilti2[a,'t_

62. Defendants idaho Arthtitis. f_`Bl. and Clark. sliehaelson and Ruina's conduct
violated 13 L`.S.'[`. 19621b}_

63. [)efendants idaho arthritis1 CBI. and L"lark. lvlichaelson and Ruioa`s conduct
violated 13 11 .S.C . 1062{c`,t.

64. Defcndants ldaho .-’trthritis and St- l.ukes violated 13 Ll.fi_C. 19621a].

FR_A‘:'ER l"Ull. Rlil_lEF

Plaintiff prays for the following relief:

1. For statutory damages for violations ofthe l"L){`P.a 15 LT_S.C. 1652 er reg to be proven at

trial;

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For damages caused by the Conspiracy between the Defendants. to be proven at trial.

'i.¢)

For damages for violations of collecting an illegal [}ebt and flartatry to be proven at trial.
-l. For damages for intentional lnlliction ufEmotiooal Distress to he proven at t_tial.
5. For damages to Plaintifl`l`ay|or`s reputation to be proven at uial_

6. For damages for l`raud to be proven at uial_

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10.

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For damages tier RlCU' violations to be proven at trial.

For direct economic damages in the amount of 32.195.23 plus time missed from work
and any payments made on the debt.

For Defendants (,` lark and {`Bl to remove all references of tl'te ldaho State ludgntent frorn
Plaintifl`l`aylor`s credit reports from all four 14} credit reporting bureaus.

For non*economic damages in tl'tc amount to be proven at trial.

1`-`or punitive damages to be determined at trial.

_ For Defendants to pay for all costs and atlomey`s fecs_

.Fl_r*tll~l`l`ll"F DEMANDS r‘l. .lUR't' TR].*'\L_

Dated hpri| 24. 2012.

 

Ryhn T. E_arl \

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lv’v"ayne Taylor. being first duly sworn upon oath. says:
That he is the Plat`ntif`f in tile ah-ov e-litled malter. that he has read the above foregoing 1'v"erit`u:~r.f

L`ontplaint: the he knows the contents thereofand l_'s:iicv es that the facts stated herein are true

W--
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up-to-date on your accounts status

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There is no need to call if tha above information is correct ll it is riot cts'rect please montana us immediately
at the phorm reimoc-rs listed below so that we may file your claire within the time limit reduced l:iy you insurance
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EXHIBIT 2

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